            Case 1:24-cv-00763-DII Document 4 Filed 07/08/24 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION




DISTEFANO WEBSITE                                Civil Action No.: 1-24-cv-00763
INNOVATIONS, LLC,

                      Plaintiff,                 JURY TRIAL DEMANDED


                      v.

BYTEDANCE LTD., BYTEDANCE
PTE. LTD., BYTEDANCE INC.,
TIKTOK LTD., TIKTOK, INC. and
HELIOPHILIA PTE. LTD.

                      Defendants.



                        MOTION TO STRIKE AND SUPPLEMENT

        Plaintiff moves the Court to Strike Docket entries 01-7 through 01-14 (Exhibit 6 through

 Exhibit 13 to Plaintiff’s Complaint). The subject exhibits were mistakenly filed. The corrected

 Exhibits 6 through 15 to be supplemented for Docket entries 01-7 through 01-14 are attached to

 this Motion.

Dated: July 8, 2024                                 Respectfully submitted,
                                                    /s/   Robert P. Hart
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